        Case 1:20-cv-03388-EGS Document 24-1 Filed 02/24/21 Page 1 of 1




                      IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF COLUMBIA
_______________________________________
                                        )
MICHIGAN WELFARE RIGHTS                 )
ORGANIZATION, et al.                    )
                                        )
           Plaintiffs,                  )
                                        )
                       v.               )
                                        ) No. 1:20-cv-3388-EGS
                                        )
                                        )
 DONALD J. TRUMP, et al.,               )
                                        )
           Defendants.                  )
                                        )


                                   [PROPOSED] ORDER

       Upon consideration of the Republican National Committee’s motion to dismiss Plaintiffs’

amended complaint, accompanying statement of points and authorities, and any opposition thereto,

it is hereby ordered that the motion is GRANTED.

       IT IS SO ORDERED.




Dated: ______________                              ___________________________________
                                                   The Honorable Emmet G. Sullivan
                                                   United States District Judge
                                                   for the District of Columbia
